                                                 Case 4:20-cv-01599-JST Document 1 Filed 03/04/20 Page 1 of 5



                                          1   KRISTINA M. ZINNEN, Bar No. 245346
                                              TRACY L. MAINGUY, Bar No. 176928
                                          2   WEINBERG, ROGER & ROSENFELD
                                              A Professional Corporation
                                          3   1001 Marina Village Parkway, Suite 200
                                              Alameda, California 94501
                                          4   Telephone (510) 337-1001
                                              Fax (510) 337-1023
                                          5   E-Mail: kzinnen@unioncounsel.net
                                                      tmainguy@unioncounsel.net
                                          6

                                          7   Attorneys for Plaintiffs

                                          8                               UNITED STATES DISTRICT COURT

                                          9                              NORTHERN DISTRICT OF CALIFORNIA

                                         10   THE BOARD OF TRUSTEES, in their                       No.
                                              capacities as Trustees of the CEMENT
                                         11                                                         COMPLAINT FOR BREACH OF
                                              MASONS HEALTH AND WELFARE TRUST
                                                                                                    CONTRACT, DAMAGES, AND AUDIT
                                         12   FUND FOR NORTHERN CALIFORNIA;                         (ERISA 29 U.S.C. §1001, ET SEQ., 29
                                              CEMENT MASONS PENSION TRUST FUND                      U.S.C. §185)
                                         13   FOR NORTHERN CALIFORNIA; CEMENT
                                              MASONS VACATION/HOLIDAY TRUST
                                         14   FUND FOR NORTHERN CALIFORNIA; and
                                              CEMENT MASONS APPRENTICESHIP AND
                                         15
                                              TRAINING TRUST FUND FOR NORTHERN
                                         16   CALIFORNIA,

                                         17                                 Plaintiffs,

                                         18           v.
                                         19   CELTIC CONSTRUCTION, INC.,
                                         20                                 Defendant.
                                         21

                                         22          Plaintiffs complain of Defendant, and for cause of action allege:
                                         23                     JURISDICTION AND INTRADISTRICT ASSIGNMENT
                                         24                                                I.
                                         25          This action arises under and is brought pursuant to Section 502 of the Employee
                                         26   Retirement Income Security Act, as amended (ERISA) (29 U.S.C. §1132), and section 301 of the
                                         27   Labor Management Relations Act (LMRA) (29 U.S.C. § 185). Venue properly lies in this district
                                         28
WEINBERG, ROGER &
   ROSENFELD
   A Professional Corporation                                                                   1
1001 Marina Village Parkway, Suite 200
      Alameda, California 94501
           (510) 337-1001
                                                 COMPLAINT FOR BREACH OF CONTRACT, DAMAGES, AND AUDIT
                                                 Case No.
                                                Case 4:20-cv-01599-JST Document 1 Filed 03/04/20 Page 2 of 5



                                         1   court because contributions are due and payable in the County of San Francisco. Therefore,

                                         2   intradistrict venue is proper.

                                         3                                               PARTIES

                                         4                                                   II.

                                         5          Plaintiffs, the Board of Trustees, are Trustees of the Cement Masons Health and Welfare

                                         6   Trust Fund for Northern California; Cement Masons Pension Trust Fund for Northern California;

                                         7   Cement Masons Vacation-Holiday Trust Fund for Northern California; and the Cement Masons

                                         8   Apprenticeship and Training Trust Fund for Northern California (“Trust Funds” or “Plaintiffs”).

                                         9   The above-named Trust Funds are employee benefit plans created by written Trust Agreements

                                    10       subject to and pursuant to section 302 of the LMRA (29 U.S.C. § 186), and multiemployer

                                    11       employee benefit plans within the meaning of sections 3, 4 and 502 of ERISA (29 U.S.C. §§

                                    12       1002, 1003 and 1132). The Board of Trustees administers the Trust Funds and may bring this

                                    13       action in the name of the Trust Funds pursuant to the express provisions of the Trust Agreements.

                                    14                                                       III.

                                    15              At all times material herein, Defendant Celtic Construction, Inc. (hereinafter referred to as

                                    16       “Defendant”), has been an employer within the meaning of section 3(5) and section 515 of

                                    17       ERISA (29 U.S.C. §§ 1002(5), 1145) and an employer in an industry affecting commerce within

                                    18       the meaning of section 301 of the LMRA (29 U.S.C. § 185).

                                    19                     ALLEGATIONS APPLICABLE TO ALL CLAIMS FOR RELIEF
                                    20                                                       IV.

                                    21              Defendant is signatory and bound to a written collective bargaining agreement with the
                                    22       District Council of Plasterers and Cement Masons of Northern California (“Union”), a labor
                                    23       organization within the meaning of section 301 of the LMRA (29 U.S.C. § 185).
                                    24                                                              V.
                                    25              The Collective Bargaining Agreement by its terms incorporates the various Trust
                                    26       Agreements establishing each of the Trust Funds. Defendant promised that Defendant would
                                    27       contribute and pay to the Trust Funds the hourly amounts required by the Master Agreement for
                                    28       each hour paid for or worked by any of Defendant’s employees who performed any work covered
WEINBERG, ROGER &
   ROSENFELD
   A Professional Corporation                                                                 2
1001 Marina Village Parkway, Suite 200
      Alameda, California 94501
           (510) 337-1001
                                                COMPLAINT FOR BREACH OF CONTRACT, DAMAGES, AND AUDIT
                                                Case No.
                                                  Case 4:20-cv-01599-JST Document 1 Filed 03/04/20 Page 3 of 5



                                         1   by the Master Agreement, and that Defendant would be subject to and bound by all of the terms,

                                         2   provisions, and conditions of the Trust Agreements.

                                         3                                                    VI.

                                         4           The Master Agreement and Trust Agreements (“Agreements”) provide for prompt

                                         5   payments of all employer contributions to the Trust Funds and provide for liquidated damages,

                                         6   not as a penalty but as a reasonable attempt to provide for payments to cover the damages

                                         7   incurred by the Trust Funds in the event of a breach by the employer where it would have been

                                         8   impracticable or extremely difficult to ascertain the losses to the Trust Funds. The Agreements

                                         9   also provide for the payment of interest on all delinquent contributions, attorneys’ fees, other

                                    10       collection costs, and for the audit of signatory employers’ books and records in order to permit

                                    11       the Plaintiffs to ascertain whether all fringe benefit contributions have been timely paid as

                                    12       required by the Agreements and law.

                                    13                                         FIRST CLAIM FOR RELIEF
                                                                               (BREACH OF CONTRACT)
                                    14                                                   VII.
                                    15               Plaintiffs incorporate and reallege by reference all the allegations stated above.
                                    16                                                       VIII.
                                    17       Defendant has failed, neglected, or refused to make timely fringe benefit contributions as required
                                    18       by the Agreements. There is now due to Plaintiffs fringe benefit contributions of at least
                                    19       $67,662.10 for the periods September 2017 to June 2019 and December 2018 to April 2019 based
                                    20       upon covered work performed Defendant’s employees, which was reported to Defendant without
                                    21       payment. There is now due to Plaintiffs liquidated damages and interest in the amount of at least
                                    22       $4,619.78 contributions reported, but not paid during the periods September 2017 to June 2019
                                    23       and December 2018 to April 2019. There is also now due liquidated damages and interest in the
                                    24       amount of at least $2,184.03 based upon contributions reported, but paid late during the period
                                    25       May 2017 through August 2017.
                                    26       //
                                    27       //
                                    28       //
WEINBERG, ROGER &
   ROSENFELD
   A Professional Corporation                                                                   3
1001 Marina Village Parkway, Suite 200
      Alameda, California 94501
           (510) 337-1001
                                                  COMPLAINT FOR BREACH OF CONTRACT, DAMAGES, AND AUDIT
                                                  Case No.
                                                Case 4:20-cv-01599-JST Document 1 Filed 03/04/20 Page 4 of 5



                                         1                                                    IX.

                                         2          Plaintiffs are the intended third-party beneficiaries of the Collective Bargaining

                                         3   Agreement, but Trust Fund contribution delinquencies are excluded from the arbitration

                                         4   provisions of the Collective Bargaining Agreement.

                                         5                                                    X.

                                         6          Plaintiffs have complied with all conditions on their part to be performed under the terms

                                         7   of the applicable Agreements.

                                         8                                                    XI.

                                         9          Plaintiffs are entitled to reasonable attorneys’ fees, interest, and other reasonable expenses

                                    10       incurred in connection with this matter due to Defendant’s failure and refusal to pay all fringe

                                    11       benefit contributions due and owing pursuant to the terms of the applicable Agreements, and

                                    12       ERISA section 502(g)(2) (29 U.S.C. § 1132(g)(2)).

                                    13                                    SECOND CLAIM FOR RELIEF
                                                                 (ACTUAL DAMAGES FOR BREACH OF CONTRACT)
                                    14                                              XII.
                                    15              Plaintiffs incorporate and reallege by reference all the allegations stated above.
                                    16                                                       XIII.
                                    17              Defendant has failed, neglected and refused to make timely fringe benefit contributions
                                    18       as required by the applicable Agreements, and have caused Plaintiffs actual damages in an
                                    19       amount to be proven at trial.
                                    20                                        THIRD CLAIM FOR RELIEF
                                                                                      (AUDIT)
                                    21                                                  XIV.
                                    22                 Plaintiffs incorporate and reallege by reference all the allegations stated above.
                                    23                                                       XV.
                                    24              Plaintiffs believe that additional amounts may be due and owing and also pray for an audit
                                    25       to determine the same.
                                    26              WHEREFORE, Plaintiffs pray for judgment against Defendant, Celtic Construction,
                                    27       Inc., as follows:
                                    28              1. That Defendant be ordered to pay fringe benefit contributions of at least $67,662.10;
WEINBERG, ROGER &
   ROSENFELD
   A Professional Corporation                                                                  4
1001 Marina Village Parkway, Suite 200
      Alameda, California 94501
           (510) 337-1001
                                                COMPLAINT FOR BREACH OF CONTRACT, DAMAGES, AND AUDIT
                                                Case No.
                                                Case 4:20-cv-01599-JST Document 1 Filed 03/04/20 Page 5 of 5



                                         1            2. That Defendant be ordered to pay liquidated damages and interest in the amount of at

                                         2   least $4,619.78 contributions reported, but not paid during the periods September 2017 to June

                                         3   2019 and December 2018 to April 2019;

                                         4            3. That Defendant be ordered to pay liquidated damages and interest in the amount of at

                                         5   least $2,184.03 based upon contributions reported, but paid late during the period May 2017

                                         6   through August 2017;

                                         7            4. That Defendant be ordered to pay actual damages according to proof;
                                         8            5. That Defendant be compelled to submit to a an audit by Plaintiffs;

                                         9            6. That this Court issue an Order permanently enjoining Defendant for so long as

                                    10       Defendant remains obligated to contribute to the Trust Funds, from failing to timely submit

                                    11       required monthly contributions reports and payments as required by the terms of the Agreements

                                    12       and ERISA sections 502(a)(3) and (g)(2), (29 U.S.C. § 1132(a)(3), (g)(2));

                                    13                7. That Defendant be ordered to pay attorneys’ fees;

                                    14                8. That Defendant be ordered to pay costs of suit herein; and

                                    15                9. That the Court grant such further relief as this Court deems just and proper.

                                    16       Dated: March 4, 2020                            WEINBERG, ROGER & ROSENFELD
                                                                                             A Professional Corporation
                                    17

                                    18                                                       /s/ Tracy L. Mainguy
                                                                                     By:     TRACY L. MAINGUY
                                    19                                                       Attorneys for Plaintiffs
                                             147945\1073208
                                    20

                                    21

                                    22

                                    23

                                    24

                                    25

                                    26

                                    27

                                    28
WEINBERG, ROGER &
   ROSENFELD
   A Professional Corporation                                                                   5
1001 Marina Village Parkway, Suite 200
      Alameda, California 94501
           (510) 337-1001
                                                COMPLAINT FOR BREACH OF CONTRACT, DAMAGES, AND AUDIT
                                                Case No.
